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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA,                             Case No. 10-CR-0304 (PJS/AJB)

                       Plaintiff,

 v.                                                                 ORDER

 MARTIN BASURTO-ESQUIVEL (1),
 MARTIN BASURTO, JR. (2), KEENER
 BASURTO (3), and PATRICIO CARDOSO-
 SANCHEZ (4),

                       Defendants.


       Thomas M. Hollenhorst and Allen A. Slaughter, Jr., UNITED STATES ATTORNEY’S
       OFFICE, for plaintiff.

       Mark D. Larsen, LINDQUIST & VENNUM, PLLP, for defendant Martin Basurto-
       Esquivel.

       Frederick J. Goetz, GOETZ & ECKLAND, PA, for defendant Martin Basurto, Jr.

       Kevin M. O’Brien, O’BRIEN LAW OFFICE, for defendant Keener Basurto.

       James B. Sheehy, SHEEHY LAW, LTD, for defendant Patricio Cardoso-Sanchez.

       This matter is before the Court on defendant Martin Basurto-Esquivel’s objection to the

January 18, 2011 Report and Recommendation (“R&R”) of Magistrate Judge Arthur J. Boylan.

Basurto-Esquivel objects to the R&R in three respects: First, he objects to Judge Boylan’s

recommendation that his motion to suppress evidence derived from the search of his residence in

White Bear Lake, Minnesota be denied. Second, he objects to Judge Boylan’s recommendation

that his motion to sever defendants be denied. And third, he objects to Judge Boylan’s

recommendation that his motion to sever counts be denied.
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       On February 14, 2011 — after Basurto-Esquivel filed his objection — the government

moved to dismiss Count 12, which was the sole count that Basurto-Esquivel sought to have

severed. Docket No. 140. The Court granted the government’s motion and dismissed Count 12.

Docket No. 141. That renders moot Basurto-Esquivel’s motion to sever Count 12.

       With respect to Basurto-Esquivel’s motions to suppress evidence and to sever defendants,

the Court has reviewed de novo those portions of the R&R to which Basurto-Esquivel has

objected, as required by 28 U.S.C. § 636(b)(1) and Local Rule 72.2(b). The Court agrees that,

for the reasons explained by Judge Boylan, the motions should be denied.

                                            ORDER

       Based on the foregoing, and on all of the files, records, and proceedings herein, the Court

OVERRULES Basurto-Esquivel’s objection [Docket No. 132] and ADOPTS Judge Boylan’s

Report and Recommendations except insofar as Judge Boylan addresses the severance of

Count 12. Accordingly, IT IS HEREBY ORDERED THAT:

       1.     Defendant Martin Basurto-Esquivel’s motion to suppress evidence derived from

              search and seizure [Docket No. 92] is DENIED;

       2.     Defendant Martin Basurto-Esquivel’s motion to sever defendants [Docket No. 83]

              is DENIED;

       3.     Defendant Martin Basurto-Esquivel’s motion to sever counts [Docket No. 84] is

              DENIED AS MOOT;

       4.     Defendant Martin Basurto-Esquivel’s motion to suppress evidence derived from

              wiretaps [Docket No. 75] is DENIED;




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     5.     Defendant Martin Basurto, Jr.’s motion to suppress evidence [Docket No. 101] is

            DENIED;

     6.     Defendant Martin Basurto, Jr.’s motion to suppress evidence obtained as a result

            of search and seizure [Docket No. 102] is DENIED;

     7.     Defendant Martin Basurto, Jr.’s motion to suppress statements, admissions, and

            answers [Docket No. 103] is DENIED;

     8.     Defendant Martin Basurto, Jr.’s motion for severance of counts and defendants

            [Docket No. 112] is DENIED;

     9.     Defendant Martin Basurto, Jr.’s motion for suppression of evidence derived from

            wiretaps [Docket No. 113] is DENIED;

     10.    Defendant Patricio Cardoso-Sanchez’s motion to suppress wiretap evidence and

            evidence derived therefrom [Docket No. 64] is DENIED;

     11.    Defendant Patricio Cardoso-Sanchez’s motion to suppress evidence obtained as a

            result of search and seizure [Docket No. 69] is DENIED; and

     12.    Defendant Patricio Cardoso-Sanchez’s motion for severance [Docket No. 71] is

            DENIED.

Dated: February 18, 2011                      s/Patrick J. Schiltz
                                              Patrick J. Schiltz
                                              United States District Judge




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